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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                Judge Raymond P. Moore

  Civil Action No. 1:19-cv-02594-RM-SKC

  UNITED STATES SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

  v.

  MEDIATRIX CAPITAL INC., et al.,

         Defendants,

  and

  MEDIATRIX CAPITAL FUND LTD., et al.,

        Relief Defendants.
  ______________________________________________________________________________

          ORDER TO MODIFY PRELIMINARY INJUNCTION ASSET FREEZE
  ______________________________________________________________________________

         On May 27, 2020, Bryant Sewall and Hanna Ohonkova (“Defendant” and “Relief

  Defendant,” respectively) filed an unopposed motion (ECF No. 120) to modify the Preliminary

  Injunction (ECF No. 35) to permit the sale of 1199 Lloyd’s Road, Little Elm, Texas.

         Upon consideration of the Parties’ motion, and for good cause shown, the Court

  GRANTS the motion. Now, therefore:

         IT IS HEREBY ORDERED that the Preliminary Injunction (ECF No. 35) is modified to

  permit the sale of 1199 Lloyd’s Road, Little Elm, Texas for the amount of $535,000.00. The
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  remaining two parcels of land known as 1197 Lloyd’s Road will remain part of the frozen assets

  and will be separated upon closing from 1199 Lloyd’s Road, Little Elm, Texas.

         DATED this 3rd day of June, 2020.


                                                     BY THE COURT:



                                                     ____________________________________
                                                     RAYMOND P. MOORE
                                                     United States District Judge




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